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Counsel for Plaintiff
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
SHARON A. HERRIDGE, Case No:
Claimant,
VERIFLED COMPLAINT

VS.

LEIF T. SIRMAN and the FEDERAL
BUREAU OF INVESTIGATION,

Respondents.

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COMES NOW Plaintiff, Sharon A. Herridge, by and through the undersigned counsel, and

for a cause of action against the above-named Defendants, states and alleges as follows:
INTRODUCTION

I. At all times material herein, Plaintiff Sharon A. Herridge is an adult citizen of the
United States, who currently resides in Pocatello, Bannock County, Idaho.

2. At all times material herein, Defendant Leif T. Sirman is an adult citizen of the
United States, who currently resides in Pocatello, Bannock County, Idaho.

3. Atall times material herein, the Federal Bureau of Investigation (“FBI”) is a bureau

of the Department of Justice of the United States and is a U.S. Government defendant .

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JURISDICTION AND VENUE

4, Jurisdiction and venue are proper in this Court under 28 U.S. Code § 1346 and 28

U.S.C. § 1402,
GENERAL ALLEGATIONS AND CAUSE OF ACTION

5. On December 15, 2015, at approximately 8:30 a.m., Plaintiff was a passenger in her
2009 Toyota Camry which was being driven by her husband, Mr. and Mrs. Herridge were stopped
at a stoplight at the intersection of Flandro Drive and Yellowstone Avenue in Pocatello, Idaho, and
were stopped in the lefthand turning lane waiting to turn left onto Yellowstone Avenue. FBI
employee Defendant Leif Sirman was traveling southbound on Flandro Drive in the right hand lane.
As Mr. Sirman negotiated the curve on Flandro Drive his vehicle slid into the passenger side of the
Plaintiff's car. Defendants’ vehicle hit Plaintiff's car with such force that Plaintiff's vehicle was
propelled forward and crashed not only into the vehicle in front of it, but also hit the vehicle that was
on the left side of it. As result of the impacts, Plaintiff's body was propelled forward and sideways
violently. The airbags in Plaintiffs car did not deploy, and Plaintiff was thrown into the passenger
side door hitting her right jaw and right shoulder. Plaintiff's vehicle was totaled.

FIRST CAUSE OF ACTION —- NEGLIGENCE/AND NEGLIGENCE PER SE

(Leif Sirman)
6. Plaintiff incorporates by reference the preceding paragraphs as if set forth in full
herein,
7. On the date of the accident that is the subject of this case, Defendant Sirman operated

the FBI vehicle ina negligent manner, and negligent per se manner, such that he caused the collision

with Plaintiff's car.

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8. Defendant Sirman owed a duty to obey the laws and rules of the road for the State
of Idaho, including but not limited to Idaho Code § 49-654(1) — traveling at a speed greater than is
reasonable and prudent.

9, Defendant Sirman further owed a duty to operate the vehicle in a reasonable and safe
manner, and in a manner consistent with the safety of others traveling on the roadways, including
Sharon Herridge.

10. Defendant Sirman breached one or more of the aforesaid duties when he caused the
collision that injured Plaintiff and totaled her vehicle.

11. Asadirect and proximate result of Defendant Sirman’s breach and his negligent acts
and/or omissions, Plaintiffhas incurred general and special damages, including pain and suffering
in an amount to be proven at trial; medical expenses in an amount to be proven at trial; and other
such damages all in an amount to be proven at the time of trial. Plaintiff seeks pre-judgment
interest, as allowed by law, from the time the damages were incurred until judgment is entered.

12, Asa further direct and proximate result of Defendant Sirman’s negligent breach and
his negligent acts or omissions, Plaintiffhas been forced to retain the undersigned counsel and incur

attorney's fees and costs for which she should be reimbursed by the Defendants.

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SECOND CAUSE OF ACTION — IMPUTED NEGLIGENCE

(FBI
13. Plaintiff incorporates by reference the preceding paragraphs as if set forth in full
herein.
14. At all times relevant hereto, Defendant FBI was the owner of the vehicle that was

operated by Defendant Sirman on December 15, 2015 in the course and scope of his employment
for the FBI.

15. Defendant FBI, upon information and belief, gave Defendant Sirman permission and
or instructions to operate their equipment at the time and place of the accident.

16, As the owners of the aforementioned vehicle, the FBI is responsible for all the
negligent acts and/or omissions of Defendant Sirman, pursuant to the Jaws of the state of Idaho,
including, but not limited to, Idaho Code § 49-654(1). Defendant Sirman breached Idaho Code §
49-654(1), and is negligent per se. Defendant Sirman’s negligence per se is imputed to Defendant
FBI, and, as a result, Defendant FBI is negligent per se.

17, Asa direct and proximate result of Defendants’ breach and negligent acts and/or
omissions, Plaintiff has incurred general and special damages, including pain and suffering in an
amount to be proven at trial; medical expenses in an amount to be proven at trial; and other such
damages all in an amount to be proven at the time of trial. Plaintiff seeks pre-judgment interest, as
allowed by law, from the time the damages were incurred until judgment is entered.

18. As a further direct and proximate result of Defendants’ negligent breach and
negligent acts or omissions, Plaintiff has been forced to retain the undersigned counsel and incur

attorney’s fees and costs for which she should be reimbursed by the Defendants.

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WHEREFORE, Plaintiff Sharon Herridge prays for judgment against the Defendants, Lief

Sirman and the Federal Bureau of Investigation as follows:

i. Past and future medical expenses;
ii. For attorney fees and costs incurred herein; and,
iil. For such other and further relief as the Court deems equitable and just; and,

DATED this iS day of November, 2017,

COOPER & LARSEN, CHARTERED

By__/s/ Reed W. Larsen
REED W. LARSEN

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VERIFICATION

STATE OF IDAHO  )
'SS
County of Bannock =)

SHARON HERRIDGE, being first duly sworn, depose and state as follows:

That I am the Plaintiff herein; that I have read the foregoing document, know the contents
thereof, and that the facts therein stated are true to the best of my knowledge and belief.

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SHARON HERRIDGE

SUBSCRIBED AND SWORN TO before me this HW) oh, of October, 2017.

” JAMIE ANDERSON Grmel Mie bri.

(SERL) NOTARY Fen NOTARY PUBLIC F AHO
STATE OF Residing at: 7
My Commission expires: EL, a3

 

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